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 1
     ANDREW MAST (CSBN 284070)
 2   GABRIEL MARTINEZ (CSBN 275142)
     MICHAEL RABKIN (ILRN 6293597)
 3   ALBERT SAMBAT (CSBN 236472)
     U.S. Department of Justice
 4
     Antitrust Division
 5   450 Golden Gate Avenue
     Box 36046, Room 10-0101
 6   San Francisco, CA 94102
 7   michael.rabkin@usdoj.gov
     Telephone: (415) 934-5300
 8
     Attorneys for the United States
 9
10
                                  UNITED STATES DISTRICT COURT
11
                                NORTHERN DISTRICT OF CALIFORNIA
12
                                       SAN FRANCISCO DIVISION
13
14   UNITED STATES OF AMERICA                            CASE NO. 14-CR-00534-CRB-5
15
16                                                       UNITED STATES’ SENTENCING
                    v.
                                                         MEMORANDUM AND MOTION FOR
17                                                       DOWNWARD DEPARTURE PURSUANT
                                                         TO U.S.S.G. §5K1.1
18    ABRAHAM S. FARAG,

19                          Defendant.
20
21
22          The United States respectfully requests that this Court sentence defendant ABRAHAM

23   S. FARAG to (1) serve seven months of custody, (2) serve three years of supervised release,

24   and (3) pay a criminal fine of $2,000, a $100 special assessment, and $7,000 in restitution.

25   This sentencing recommendation is based on the government’s motion for a downward

26   departure of 10 percent from the low end of the Guidelines range for substantial assistance and

27   is consistent with the parties’ plea agreement.

28    //

     U.S.’ SENT’G MEMO                                    1
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 1                                          BACKGROUND
 2          Defendant Abraham S. Farag is charged with participating in the bid-rigging conspiracy
 3   in San Mateo County, which began no later than August 2008 and continued until January 2011.
 4   Presentence Report (“PSR”) ¶ 15. Farag began attending auctions in late 2009 and was
 5   participating in the conspiracy by early 2010. Id. His involvement in the conspiracy continued
 6   until January 2011. Id.
 7          Unlike some of the other conspirators, Farag was not surprised that bid rigging was
 8   occurring at the auctions when he began attending in 2009. Id. ¶ 16. In 2003, Farag attended a
 9   San Mateo auction to purchase a property located next door to his residence in East Palo Alto.
10   At that auction, co-conspirator Joseph Giraudo approached Farag and told him he could purchase
11   the property if Farag paid him $4,000 not to bid against him. Id. Farag accepted Giraudo’s
12   offer. Id. Farag did not resume attending the auctions again until 2009. Id.
13          Farag was primarily interested in purchasing properties located in East Palo Alto, and he
14   used an entity called Working Dirt, which he had formed in 2005, to purchase properties at the
15   auctions. Id. ¶ 17. He also cultivated a relationship with the “Big 5,” a group of the five most
16   dominant bidders at the auction, but he was never accepted as a member of that group. Id. Once
17   he began attending the auctions regularly, Farag participated in payoff agreements. Id.
18          For example, Farag purchased a property located at 2247 Terra Villa Street in East Palo
19   Alto after making an agreement to pay Giraudo, Daniel Rosenbledt, and Mohammed Rezaian
20   $10,000 not to bid against him. Id. ¶ 18. Likewise, Farag and an unindicted co-conspirator
21   purchased a property located at 1121 Menlo Oaks Drive in Menlo Park pursuant to a $12,000
22   payoff agreement. Id. Pursuant to that agreement, Farag and the unindicted co-conspirator paid
23   Giraudo, Grinsell, Rezaian, Rosenbledt, and Robert Williams not to bid on the property. Id.
24          Farag also received payments not to bid. Id. ¶ 19. For example, Farag received $4,000
25   (of a $20,000 total payoff) not to bid against competitors at the auction for a property located at
26   1177 Alameda de las Pulgas in Redwood City. Id. Rosenbledt also indicated that he paid Farag
27   on more than one occasion to not bid against him or the Big 5. Id.
28   //

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 1             Ultimately, Farag was involved in eight payoff agreements, and his volume of commerce
 2   is $928,087.1 Id. ¶ 20. The volume of commerce does not reflect the bid rigging agreements that
 3   Farag participated in for which he received payoff money. Farag received $7,000 in payoffs for
 4   agreeing not to bid on three properties. Id.
 5             On October 22, 2014, Farag was indicted on one count of bid rigging and two counts of
 6   mail fraud. Dkt. 1. On October 25, 2017, Farag pleaded guilty to the bid-rigging count.2
 7   Dkt. 277.
 8                                                   ARGUMENT
 9   A.        Sentencing Guidelines Calculations
10                      1.      Criminal History
11             In Paragraph 12 of the plea agreement, the parties agree that Farag’s Criminal History
12   Category is determined by the Court. The Presentence Report (PSR) calculates Farag’s Criminal
13   History Category as I, based on minimal criminal history. PSR ¶¶ 36-39.
14                      2.      Offense Level
15             The PSR calculates the total offense level as 11, consistent with the plea agreement. PSR
16   ¶ 34. This calculation includes a one-level increase to the base offense level of 12 for conduct
17   involving the submission of non-competitive bids, and a downward reduction of two levels for
18   acceptance of responsibility. PSR ¶¶ 26-34. U.S. Sentencing Guidelines Manual (“U.S.S.G.”)
19   §§2R1.1(b)(1), 2R1.1(b)(2)(A), and 3E1.1(a) (U.S. Sentencing Comm’n 2016).
20             Under the Sentencing Guidelines, an offense level of 11 and Criminal History Category
21   of I results in a sentence ranging from 8 to 14 months of imprisonment.
22                      3.      Fine and Restitution
23             The PSR calculates a fine range of $20,000 to $46,394. PSR ¶ 76; U.S.S.G. §2R1.1(c)(1)
24   (fine range shall be from one to five percent of the volume of commerce, but not less than
25   $20,000). In the plea agreement, the government agreed to recommend a fine between $2,000
26   1
       Unlike most of the other defendants who pleaded guilty pursuant to plea agreements, Farag has not stipulated to a
     specific volume of commerce. Rather, the government and Farag have agreed that his volume of commerce does
27   not exceed $1 million.
28   2
         On October 13, 2016, the mail-fraud counts against Farag were dismissed on the government’s motion. Dkt. 178.


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 1   and $20,000. Dkt. 277. In conjunction with its custodial recommendation, the government
 2   recommends a $2,000 fine.
 3          The government recommends restitution in the amount of $7,000, consistent with the plea
 4   agreement. Id.
 5   B.     Basis for Downward Departure for Substantial Assistance
 6          Pursuant to Section 5K1.1 of the Guidelines, the government moves for a downward
 7   departure for substantial assistance to the investigation. The government recommends a 10
 8   percent reduction from the low end of the Guidelines range of eight months, resulting in a
 9   sentence of seven months.
10          The timing, significance, nature and extent of Farag’s cooperation warrant a 10 percent
11   reduction. Farag was the last individual to plead guilty, and his October 25, 2017 plea was over
12   three years after he was indicted. Farag sat for a single interview with the FBI in November
13   2017. During his interview, Farag provided corroborating information regarding the operation of
14   the conspiracy, the conduct of other conspirators, and various bid-rigging agreements.
15          For these reasons, a 10 percent downward departure for substantial assistance to the
16   investigation and prosecution of these cases is appropriate.
17   C.     Sentencing Recommendation
18          The government’s recommendation of seven months is reasonable and not greater than
19   necessary in light of the factors articulated in 18 U.S.C. § 3553. The Court’s sentence must
20   reflect the seriousness of the offense, promote respect for the law, and afford adequate deterrence
21   to future bid-rigging offenses and white-collar crime generally.
22          Given the magnitude of the financial harm caused by Farag’s conduct, the government’s
23   recommendation, which includes a custodial term, is appropriate and consistent with the
24   commentary in the applicable Guidelines. The commentary to the Guidelines makes clear that
25   “prison terms for [Antitrust] offenders should be . . . common” and “alternatives such as
26   community confinement [should] not be used to avoid imprisonment of antitrust offenders.”
27   U.S.S.G. §2R1.1, cmt. n. 5 & Background. Given Farag’s substantial assets, a fine alone—in the
28   absence of a custodial term—would not serve as an adequate deterrent.

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 1          This was a serious, far-reaching crime. Farag was a member of a criminal conspiracy
 2   that corrupted a fair and competitive process meant to compensate mortgage holders,
 3   homeowners, and other beneficiaries following a home foreclosure. Instead, that process was
 4   exploited for the personal enrichment of Farag and his co-conspirators. This conduct was
 5   especially harmful given its timing during the foreclosure crisis in the late 2000s. It bred distrust
 6   in the auction process and discouraged investors outside of the conspiracy from attending the
 7   auctions to purchase foreclosed properties. And the fact that the conspiracy was carried out at or
 8   near the steps of local courthouses was especially egregious.
 9          Farag did not originate the conspiracy, but he knew about the bid rigging before he began
10   attending the auctions in 2009 and nonetheless joined in willingly. Furthermore, while Farag
11   was never accepted as a member of the Big 5, it was not for lack of trying; Farag cultivated a
12   relationship with the Big 5—by far the most culpable group among all of the conspirators.
13          The proposed sentence also takes into account the need for deterrence. Antirust crimes
14   are often hard to detect, taking place in the context of conspiracies that leave few physical clues.
15   In this case, the investigation into the corruption at the foreclosure auction took years to piece
16   together. The potential for evading law enforcement and the resources required to investigate
17   and prosecute such a conspiracy increases the need for tangible penalties to serve as a deterrent;
18   otherwise, the potential financial upside and low likelihood of getting caught makes engaging in
19   this type of criminal conduct even more enticing. The pervasive nature of this conspiracy also
20   increases the need for deterrence. Dozens of investors thoroughly corrupted the auctions in
21   multiple counties for over two years, recruiting new members, intimidating newcomers, and
22   assuming—as Farag likely did, especially given his highly-educated background—that they
23   would never be held accountable for rampant bid rigging. Sentences commensurate with the
24   Guidelines will send a clear message across the industry, including to those who might otherwise
25   perceive themselves as beyond the reach of the law, that bid rigging is unacceptable.
26          Probation recommends a dramatic variance from Farag’s Guidelines calculations that
27   would cut his term of incarceration down to zero—eight months less than the low end of the
28   Guidelines range. As discussed above, a variance is not warranted, especially given the

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 1   magnitude of the financial harm caused by Farag’s conduct. A seven-month sentence adequately
 2   reflects Farag’s history and characteristics, including his eventual decision to accept
 3   responsibility and his willingness to pay restitution and cooperate in the investigation, while also
 4   accounting for the seriousness of the offense and the need to provide adequate deterrence.
 5                                            CONCLUSION
 6          For the foregoing reasons, the United States respectfully requests that the Court grant
 7   the government’s motion for a downward departure of 10 percent from the low end of the
 8   Guidelines range for substantial assistance and sentence defendant Abraham S. Farag to
 9   (1) serve seven months of custody, (2) serve three years of supervised release, and (3) pay a
10   criminal fine of $2,000, a $100 special assessment, and $7,000 in restitution.
11
12   Dated: April 19, 2018                                 Respectfully submitted,
13
                                                           /s/
14                                                         MICHAEL RABKIN
                                                           Trial Attorney
15                                                         United States Department of Justice
                                                           Antitrust Division
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